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            EXHIBIT 1
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 IMPULSORA DE MARCAS E
 INTANGIBLES, S.A. DE C.V.

         Plaintiff,
 v.
                                                               6:19–CV–453–ADA–JCM
                                                                JURY TRIAL DEMANDED
 DOS AMIGOS, INC. AND PAFER FOODS &
 BEVERAGES S. DE R.L. DE C.V

         Defendants.


                                DECLARATION OF JUSTIN S. COHEN

       1.        My name is Justin S. Cohen. I am over 21 years of age, of sound mind, and otherwise

competent to make this declaration. All of the facts stated in this declaration are within my personal

knowledge and are true and correct. I acquired my personal knowledge during the course and scope

of my work as lead counsel for Plaintiff Impulsora de Marcas e Intangibles, S.A. de C.V. (“IMI”).

I am submitting this declaration in support of IMI’s motion for costs and attorneys’ fees associated

with the nonappearance of Pablo Paoli at his March 5, 2021 deposition (“the Motion”).

       2.        I am a partner at the law firm of Thompson & Knight LLP, in Dallas, Texas. I was

admitted to practice law in the State of Michigan in 2007 and admitted to practice law in the State of

Texas in 2011.

       3.        My personal knowledge of the matters discussed in this declaration is based on my

position and experience as an attorney, my related professional activities, my personal knowledge of

the associate discussed, my personal involvement as the lead attorney for IMI on this matter, and my

personal review of the documents discussed in this declaration.

       4.        I have been principally responsible for handling the day-to-day activities in this

lawsuit for IMI. I have drafted or reviewed all of the motions, briefs, and other pleadings in this




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case, including the Motion. I have also been responsible for supervising the work done by other

lawyers, paralegals, or staff working for IMI in this matter.

        5.       My hourly rate on this case is $770. The hourly rate of the associate, Dina W.

McKenney, for her work on this case is $655. Based on my knowledge of standard rates in Texas

for individuals with similar experience, this hourly rate and amount of time billed is reasonable and

justified for a matter of this nature.

        6.       My law firm’s records show that IMI has incurred at least $12,304.50 in reasonable

and necessary fees for my and Ms. McKenney’s work associated with Mr. Paoli’s nonappearance.

Specifically, our records reflect at least the following work:


  Timekeeper             Task                                    Time             Total
  Justin Cohen           Prepare for deposition of Mr. Paoli     3.5 hours        $2,695
  Justin Cohen           Attend deposition of Mr. Paoli and      0.6 hours        $462
                         confer with opposing counsel
                         regarding nonappearance
  Dina McKenney          Confer with opposing counsel and J.     2 hours          $1,310
                         Cohen regarding deposition and
                         nonappearance
  Justin Cohen           Confer with opposing counsel and D.     2 hours          $1,540
                         McKenney regarding outstanding
                         discovery      issues,     including
                         nonappearance
  Dina McKenney          Prepare brief regarding outstanding     2.5 hours        $1,637.50
                         discovery issues
  Justin Cohen           Review and revise discovery brief       1.5 hours        $1,155
  Dina McKenney          Prepare motion for attorneys’ fees      5 hours          $3,275
                         and costs associated with Mr. Paoli’s
                         nonappearance
  Justin Cohen           Review motion for attorneys’ fees       2 hours          $1,540
                         and costs associated with Mr. Paoli’s
                         nonappearance
  Total:                                                                          $13,614.50

        7.       In my opinion, the amount of the requested attorneys’ fees is reasonable under the

factors and analyses discussed in Hensley v. Eckerhart, 461 U.S. 424, 429-30 & n.3 (1983) and Johnson

v. Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974). Under those cases, a court may



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consider: (i) the time and labor required; (ii) the questions’ novelty and difficulty; (iii) the required

legal skill; (iv) the preclusion of other employment; (v) the customary fee; (vi) whether the fee is fixed

or contingent; (vii) the time limits imposed by the client or circumstances; (viii) the amount involved

and the results obtained; (ix) the attorneys’ experience, reputation, and abilities; (x) the case’s

undesirability; (xi) the attorney’s relationship with the client; and (xii) awards in similar cases. On

balance, most of the factors support IMI’s fee request; none of them warrants a decrease in the

lodestar fee.

        8.        In conclusion, it is my opinion that the total amount of reasonable and necessary

attorneys’ fees and expenses incurred by IMI in connection with the Motion is at least $12,304.50. In

fact, the amount of attorneys’ fees incurred is likely higher, as this amount does not include time

devoted to preparing the reply in support of the Motion and preparing and attending any hearing on

the Motion. It also does not include time spent by the paralegal assembling and finalizing briefs and

exhibits thereto.

        9.        Upon request by the Court, true and correct copies of the billing documents

supporting the foregoing will be provided.

        10.       Attached to this declaration are true and correct copies of the following:



                Exhibit A:    Invoice from Lexitas for Mr. Paoli’s nonappearance

                              Invoice from Elaine Kellam & Associates for Mr. Paoli’s

                Exhibit B:    nonappearance

                              Plaintiff’s Notice of Corporate Representative Deposition of

                Exhibit C:    Defendant Pafer

                Exhibit D:    February 18, 2021 Email Thread
                              Plaintiff’s Amended Notice of Corporate Representative
                              Deposition of Defendant and Notice of Deposition of Pablo
                Exhibit E:    Paoli




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                           Plaintiff’s Second Amended Notice of Corporate
                           Representative Deposition of Defendant Pafer and
             Exhibit F:    Amended Notice of Deposition of Pablo Paoli

             Exhibit G:    February 25, 2021 Email Thread

             Exhibit H:    March 4, 2021 Email Thread

             Exhibit I:    Notice of Nonappearance

             Exhibit J:    March 5, 2021 Email Thread

             Exhibit K:    March 15, 2021 Email Thread

       11.     Additionally, in response to Pafer’s February 12, 2020 disclosure of almost $7 million

on sales revenue, IMI retained an expert to testify regarding Pafer’s profits and spent considerable

time attempting to unearth the basis for this $7 million figure. It was not until March 10, 2020 that

Pafer disclosed—via its amended expert report—that the $7 million figure was due to a failure to

convert supporting data from pesos to U.S. dollars.

       12.     I declare under penalty of perjury that the foregoing is true and correct.

       Executed on March 17, 2021.


                                                       _/s/ Justin S. Cohen_______
                                                       Justin S. Cohen




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